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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

ALICIA KIRTON,                                        )
                                                      )
               Plaintiff,                             )
                                                      )
v.                                                    )
                                                      )       Case No.: 1:18-cv-01580 RCL
CHAD F. WOLF, Acting Secretary,                       )
U.S. DEPARTMENT OF HOMELAND                           )
SECURITY                                              )
                                                      )
and                                                   )
                                                      )
FEDERAL EMERGENCY MANAGEMENT                          )
AGENCY,                                               )
                                                      )
               Defendant                              )
                                                      )

                PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION
                           FOR SUMMARY JUDGMENT

       Plaintiff, Alicia Kirton, by the undersigned herein submits her Opposition to the

Defendant’s Motion for Summary Judgment. Attached hereto is the Plaintiff’s response to the

Defendant’s Undisputed Statement of Facts.

Introduction

       The issue in this case is whether the Plaintiff, Alicia Kirton, an African-American

woman, was discriminated against when her January 21, 2016, request to change her duty station

and telework schedule were denied, but the Agency granted similar requests to two other

employees, Mark Miller and Jennifer Wohltman. The government’s brief is unnecessary long

winded, delving into issues such as the Plaintiff’s decision not to ultimately settle her case,

which is the Plaintiff’s right and has no place in this Summary Judgment motion. The

government is not bringing an action to enforce a settlement.
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The government also attempts to paint Ms. Kirton in a bad light regarding her move to Florida.

This may be a worthwhile jury trial strategy, but that event is irrelevant to the overall legal

contention in this case that the Plaintiff lost of $50,000 commuting to a job that can be done and

could have been done 100% remotely. The Plaintiff was an African-American woman, two

Caucasians were granted the same 100% telework and duty station change; one of whom

couldn’t even do the essential functions of the Budget Analyst GS-13 job.

       As such, whether the Court reviews this case under the traditional two step process of the

Plaintiff establishing a prima-facie case, then the three step burden shifting, as articulated in

McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973) or under the more liberal U.S. Circuit

Court for the District of Columbia Brady v. Office of Sergeant at Arms, 520 F.3d 490, 493 (D.C.

Cir. 2008), as to whether the Plaintiff presented enough evidence to defeat Summary Judgment,

in this case, the Plaintiff’s evidence of disparate treatment based on race are unmistakable.

Summary Judgment should be denied.



       I.      Plaintiff’s Counter Statement of Facts

       It is undisputed that the Plaintiff, Alicia Kirton, African American, worked as a GS-13

budget analyst for the Federal Emergency Management Agency (“FEMA”). On January 21,

2016, Ms. Kirton’s request to change her duty station and telework schedule was denied. Exhibit

1 (formal complaint).

       Plaintiff’s job requirement was to allocate and reallocate funding for programs within

FEMA. (FEMA has many programs such as office of external affairs, mission support offices,

office of security) [dkt. 29-25, pages 9-10 of 13]. Within each program there are different

sectors. Id. Plaintiff’s job was to move funding from general office to the other programs and



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within each program to the different sectors. Id. This was all computer work. Id. There was no

meeting anybody. Id. Plaintiff did not interact with program directors or managers, as each

program puts in a spend plan – office plan how they will spend the funds for the year. Id. The

program’s budget analysts approve their plan. 99% of it is done by email and the information

goes to a sharepoint. Id. Plaintiff’s other significant duty was she was in essence a fund manager

for the programs. Id. She studied how much of the budget allocated for a certain sector is

actually being used. Id. She may have made recommendations to reallocate some of the funds

from one program sector to another. Id. This was also done by email for the most part. There was

no need for face to face interaction for this job duty. Id. As a rule, whatever meetings and

interactions are done is through Lync (Skype for business). Id. Plaintiff attested that Eric

Littlepage, Plaintiff’s second line supervisor told Plaintiff there was no need for face to face

interactions. Id. Ms. Kirton also offered to obligate herself to come into the office once per

month. Exhibit 1.

       Once Covid-19 hit, the Agency conceded that every person with the same GS-13 Budget

Analyst job, did that job 100% remotely. [dkt. 29-27, pages 6-10]. There’s no evidence in the

record that the Agency suffered any lost customer because there was no face-face interaction by

GS-13 Budget Analysts.

       Ms. Kirton attested that as a result of her being denied her change in workstation and

telecommuting, it cost her $600 a trip and as of the day she signed her interrogatories, August 6,

2019, her financial losses were $51,600. Id. at pages 9-10. Ms. Kirton had to commute from

Florida twice per month. Id. at 9.

       It is undisputed that Mark Miller, a Caucasian, was also a GS-13, Budget Analyst.

Miller’s teleworking began 10/25/12 Exhibit 2 (Agency Responses “AFPD” 000189). It



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continued until at least 3.21.13 (Id.). On February 5, 2013, Michael Darby told Miller he had two

ways to go. He could either apply for medical telework or for FMLA Exhibit 3 (AFPD 000274).

On February 20, 2013, Miller expressed to Darby that he needed to stay in the prone position to

avoid blood clotting and as such, was incapacitated Exhibit 4 (AFPD 000254). On March 13,

2013, Darby told Evan Farley that Miller asked for telework which would be good for 6 months

and that he would review the telework agreement every 30 days Exhibit 5 (AFPD 000185 -186).

Winona Cason informed Darby on 3/19/13 that Miller’s telework trial period was supposed to

end in January, 2013 Exhibit 6 (AFPD 000193). On April 14, 2013, Darby told Miller that his

telework request was approved and that he had to approve the medical documentation every 30

days Exhibit 7 (AFPD 000236). On July 2, 2013, a person described at “Ed” approved Miller’s

request due to his “medical situation” for six months. Exhibit 8 (AFPD 000080). This was also

approved by Darby on 7/3/13 until 7/29/13 or at most until 9/18/13. Exhibit 9 (AFPD 000156).

       On May 31, 2016, an email from Ellis to Julia Goldberg details the teleworking issues of

Alicia Kirton, Mark Miller and Jen Wohltman. She describes Miller as the decision having been

made by someone else 3 years ago Exhibit 10 (AFPD 000385-386). She further explains that Ms.

Wohltman was hired with a special skill set who lives in New Jersey and she is an exception to

the BPAD telework rules and that last week Ellis sent a memo to Benson to request a duty station

change to New Jersey. Ellis in describing Ms. Kirton states that she moved to Florida at the end

of 2015, she has asked for a lot of unscheduled telework and that while she wasn’t filing for a

reasonable accommodation claim, she did suffer from a torn ligament and part of her reasoning

for moving to Florida was the warmer climate would aid her recovery. Id.

       On June 10, 2016, Ellis told Goldberg that she intended to move Miller’s duty station

back to DC. The medical reasons behind his original move were documented. Exhibit 11 (AFPD



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000068). His job duties are similar in nature to all the other budget analysts. Id. Ellis further

wrote, “I feel his job performance would improve by him coming into DC at least 2 days a

week.” Id. Ellis did not say, “the budget analyst job requirement itself is face-face interactions

with customers or other third-parties.” Id.

       On June 19, 2016, an email from Ellis to Goldberg states, “ I want to give Mark Miller 4

months notice of his change in duty station... Mark is a lead budge analyst. I rely on him for

periodically acting for me when i take vacation and need sick leave.” Exhibit 12 (AFPD 000311-

000312). In further reciting the history behind Mark Miller’s duty station, Ellis noted that “Mark

was placed in the funds control branch where we thought would be the best fit for someone who

works remotely 100%.” Id.

       On June 29, 2016, Ellis notified Miller of his duty station change. Exhibit 13 (AFPD

000066). On July 25, 2016, Miller asked Ellis if he could keep his current employment situation

Exhibit 14 (AFPD 000060). On July 25, 2016, Kurt Nance sent an email to Ellis that he spoke

with Miller and notified him his duty station is moving back to DC. He had been working from

home for past 3 years. Nance assume he's asking for reasonable accommodation (Id.). On July

28, 2016, Ellis and Goldberg corresponded documenting Mark Miller’s poor performance

Exhibit 15 (AFPD 000055).

       On October 11, 2016, rather than instituting a performance improvement plan for Miller

or taking any disciplinary action against him as of that date, Ellis and Goldberg permit Miller to

obtain a doctor’s opinion regarding a reasonable accommodation Exhibit 16 (AFPD 000014). On

October 11, 2016, Miller’s doctor opines that Miller cannot perform his essential job duties; that

he suffers from fatal intracranial bleeding; these are episodic; there are no alternative

accommodations Exhibit 17 (AFPD 000038). Ultimately, the Agency did terminate Mr. Miller,



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but not because of he couldn’t do the face to face meetings, but simply because he failed his

performance improvement plan in June, 2017. [dkt. 29-6, pages 69-81].

       With respect to Jeniffer Wohltman, Ellis went through a litany of all the reasons

Wohltman should have received the 100% telework. Exhibit 18 (AFPD 000395-396). She lists

the pros and cons. One of the cons she lists is that “we aren’t in compliance if we allow her to do

teleworking.” Id. Ellis admitted that the agency was basically violating its own rules by

permitting her to telework full-time.

       Furthermore, the Plaintiff contended that Wohltman, if anything, had more of a reason to

have in person contact because she’s the head accountant who does the apportionment for the

FEMA funds from DHS. [dkt. 29-25, page 7 of 13]. Ms. Wohltman should have been held to a

higher standard because DHS would likely have people that would question her in person as to

the reason for these allocations. Id. Also Ms. Ellis recently hired another African-American

accountant, Amanda Robertson, who was not given the same telework, duty station rights and

privileges of Wohltman pursuant to FEMA’s own policy. Id.



       II.     Argument

       Summary judgment is only appropriate when the record shows that no genuine issue

exists as to any material fact and the moving party is entitled to judgment as a matter of law.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); Celotex Corp. v. Catrett, 477 U.S.

317, 322 (1986); Matsushita Elec. Indus. Co. v. Zenith Radio, 475 U.S. 574, 587 (1986); Tao v.

Freeh, 27 F.3d 635, 638 (D.C. Cir. 1994). In determining whether a genuine issue of material

fact exists, the trier of fact must view all facts, and reasonable inferences drawn there from, in

the light most favorable to the non-moving party. Matsushita, 475 U.S. at 587.



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A plaintiff asserting a Title VII discrimination claim "makes out a prima facie case of disparate-

treatment discrimination by establishing that: (1) she is a member of a protected class; (2) she

suffered an adverse employment action; and (3) the unfavorable action gives rise to an inference

of discrimination." Martin v. D.C., 78 F.Supp.3d 279 (D.D.C. 2015). The Federal Courts in the

District of Columbia have for the most part abandoned the approach of the prima facie case.

Brady v. Office of Sergeant at Arms, 520 F.3d 490, 493 (D.C. Cir. 2008).

          Furthermore, the D.C. Circuit Court has held that by the time a “district court considers

an employer’s motion for summary judgment . . . the employer ordinarily will have asserted a

legitimate, non-discriminatory reason for the challenged decision.” Id. at 493. Once that has

happened, the existence of a prima facie case is irrelevant and “the district court need not—and

should not—decide whether the plaintiff actually made out a prima facie case under McDonnell

Douglas.” Id. at 494 (emphasis in original). Instead, the Court “must resolve one central

question: Has the employee produced sufficient evidence for a reasonable jury to find that the

employer’s asserted non-discriminatory reason was not the actual reason and that the employer

intentionally discriminated against the employee . . . ?” Id.

          In this case, there are issues of fact with respect to both the telework and duty station

change equating to a tangible employment action and whether the Plaintiff was treated

differently as compared to two Caucasian employees. As such, Summary Judgment should be

denied.

          A. The discriminatory denial of Plaintiff’s telework request constitutes an adverse
             employment action.
          Defendant invites this Court to declare that, even if Defendant told Plaintiff that her

telework request was denied because of her race, Plaintiff cannot recover for race discrimination

under Title VII. Defendant’s invitation should be denied.


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       As an initial matter, it must be noted that telework and work-from-home arrangements

have dramatically increased over the last few years, even before considering the nearly universal

remote work assignments put in place to combat the COVID-19 pandemic. For example, the U.S.

Office of Personnel Management published a Guide to Telework in the Federal Government,

where it stated:

       Federal telework programs are established primarily to meet agency mission and
       operational needs. Telework saves money by helping government reduce real
       estate and energy costs and promote management efficiencies; makes us more
       resilient in severe weather and other emergencies; improves the quality of
       employee work-life; and increases employment opportunities for persons with
       disabilities. Advances in information technology have paved the way for
       increased telework. However, telework is not a new concept and is not
       necessarily dependent on the use of technology. The key is for managers and
       employees to clearly define the work expectations and objectives, and then to
       give employees the tools and flexibility needed to get the job done.

https://www.telework.gov/guidance-legislation/telework-guidance/telework-guide/guide-to-

telework-in-the-federal-government.pdf (last accessed on Oct. 21, 2020) (emphasis added).

Indeed, in the latest report to Congress, the Office of Personnel Management included the

following chart, showing that 22% of all federal employees telework and most employees that

are eligible telework:




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2019 Office of Personnel Management Status of Telework in the Federal Government, Report to

Congress. https://www.telework.gov/reports-studies/reports-to-congress/2019-report-to-

congress.pdf (last accessed on Oct. 21, 2020).

          Additionally, in a 2014 Presidential Memorandum, President Obama clearly set forth the

policy of the federal government:

          Therefore, it is the policy of the Federal Government to promote a culture in
          which managers and employees understand the workplace flexibilities and
          work-life programs available to them and how these measures can improve
          agency productivity and employee engagement. The Federal Government must
          also identify and eliminate any arbitrary or unnecessary barriers or
          limitations to the use of these flexibilities and develop new strategies consistent
          with statute and agency mission to foster a more balanced workplace.

https://obamawhitehouse.archives.gov/the-press-office/2014/06/23/presidential-memorandum-

enhancing-workplace-flexibilities-and-work-life- (last accessed on Oct. 21, 2020) (emphasis

added).



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       Of course, as noted in the Guide to Telework above, there have been significant

technological advances over the last few years that permit more job duties to be performed

outside of the traditional office setting. Indeed, even examinations of witnesses by attorneys in

depositions are being successfully conducted remotely. See Doe v. Exxon Mobil Corp., No. 1:01-

cv-1357, 2020 U.S. Dist. LEXIS 151238 (D.D.C. August 10, 2020).

       Plaintiff’s claim that Defendant’s denial of her telework request must be evaluated

against this background, and Defendant’s argument that it can discriminate on the basis of race in

approving or denying telework requests without liability must be rejected. “Adverse employment

actions are not confined to hirings, firings, promotions, or other discrete incidents.” Ritchie v.

Napolitano, 196 F. Supp. 3d 54, 60 (D.D.C. 2016) (quotation and citations omitted). An

“employee must experience materially adverse consequences affecting the terms, conditions, or

privileges of employment or future employment opportunities such that a reasonable trier of fact

could find objectively tangible harm.” Douglas v. Donovan, 559 F.3d 549, 552 (D.C. Cir. 2009)

(quotations and citations omitted).

       Defendant’s discriminatory denial of Plaintiff’s request, despite her ability to perform her

job remotely, meant that she was forced to commute from her home in Florida to her duty station

in Washington, D.C. This resulted in Plaintiff being forced to spend $1,200 per month to

commute for 25 months. While Defendant may not have affirmatively reduced Plaintiff’s pay, it

should be beyond question that the decision materially affected her “terms” and “conditions” of

employment. These facts are even more egregious than those in Weng v. Solis where the court

found that a “reasonable fact finder could find that [the denial of a telework request] materially

affected the terms, conditions, or privileges of Plaintiff’s employment.” 960 F. Supp. 2d 239, 249

(D.D.C. 2013). Defendant’s omission of the Weng decision is notable.



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        The reality of this situation is analogous to a denial of a lateral transfer. Even though

Plaintiff’s pay and traditional benefits would not change, the presence of other circumstances

qualify this denial as an adverse employment action. See Ritchie, 196 F. Supp. 3d at 61 (“A

plaintiff who is denied a lateral transfer – i.e., a transfer in which the plaintiff suffers no

diminution in pay or benefits – does not suffer an actionable injury unless there are some other

materially adverse consequences affecting the terms, conditions, or privileges of her

employment . . .”) (emphasis added) (citations omitted). Relatively recently, the D.C. Circuit

Court reversed a grant of summary judgment on a lateral transfer case, finding that the

discriminatory bias of the supervisor constituted “other materially adverse consequences.” Ortiz-

Diaz v. HUD, 867 F.3d 70, 74-75 (D.C. Cir. 2016). The concurrence in that case, authored by

then Judge (now Justice) Kavanaugh, is particularly notable:

        That said, uncertainty will remain about the line separating transfers actionable
        under Title VII from those that are not actionable. In my view, the en banc Court
        at some point should go further and definitively establish the following clear
        principle: All discriminatory transfers (and discriminatory denials of
        requested transfers) are actionable under Title VII. As I see it, transferring
        an employee because of the employee's race (or denying an employee's
        requested transfer because of the employee's race) plainly constitutes
        discrimination with respect to "compensation, terms, conditions, or
        privileges of employment" in violation of Title VII. 42 U.S.C. § 2000e-2(a). I
        look forward to a future case where our Court says as much.

Id. at 81 (Kavanaugh, J. concurring) (emphasis added).

        None of the cases relied upon by Defendant require a different result. Many of the cases

precede the rise of telework arrangements and technological advances discussed above. Further,

none of the cases involved such a significant change in the terms and conditions of employment

(the long-term commute from Florida to D.C.). For example, Brown v. Jewell, 134 F. Supp. 3d

170 (D.D.C. 2015), involved an employee who simply desired to telecommute two days per

week. In Byrd v. Vilsack, 931 F. Supp. 2d 27 (D.D.C. 2013), the agency severely limited

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telework arrangements when the employee made the request in 2007, permitting them only for

medical accommodations and emergency situations. Further, the court limited its ruling by

stating “the denial of an employee’s request to work from home on a few occasions, without

more, does not constitute an adverse employment action under Title VII.” Id. at 41 (emphasis

added). And in Brockman v. Snow, 217 F. App’x 201 (4th Cir.), the Fourth Circuit was reviewing

a case where the request was made back in 2002, nearly 20 years ago. Additionally, the plaintiff

in Brockman made a short-term request based on a complication with her pregnancy.

       As described above, the cases relied on by Defendant are distinguishable from this case.

This is not a case where Defendant’s decision resulted in a “minor annoyance.” See Beckham v.

Nat’l R.R. Passenger Corp., 736 F. Supp. 2d 130, 149 (D.D.C. 2010) (“Being denied the ability

to work from home on, at most, three occasions is a minor annoyance, not an adverse action.”).

Here, the discriminatory denial of Plaintiff’s request for 95-100 percent telecommuting clearly

resulted in a material change in the terms and conditions of her employment – namely, extensive

commuting time and $1,200 of commuting expense per month.

       Based on Plaintiff’s circumstances, the prevalence of telecommuting arrangements in the

federal government, and the technological advances permitting Plaintiff to perform her work

remotely, the discriminatory denial of her telecommuting request was an adverse employment

action. Defendant should not be permitted to freely discriminate among its employees based on

race or any other protected classification with regard to telecommuting arrangements.

       The case law the Defendant cites was written in a time period where most employees

could not and did not do their jobs teleworking. Hence, whether an employee commutes two

days a week, compared to three or four, the overall difference in that employee’s life is not that

significant as to constitute a change in his or her employment conditions. In today’s era,



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technology has drastically changed the employer’s workplace. Any federal employee like Ms.

Kirton should be able to move to some small town in Arkansas, live in a mansion at 35% of the

cost of living in Bethesda, Maryland. Denying her that opportunity is basically forcing a living

area requirement on an employee for absolutely no reason. Assuming the Court finds the

government’s case law persuasive, the case law on this issue of tangibility should be updated to

reflect this new world.

       B. The Plaintiff’s Two Listed Co-Workers are Legitimate Comparators

       As stated above, Mark Miller, a Caucasian, had the same job title as the Plaintiff and he

was allowed a station change to Oklahoma. The Defendant attempts to distinguish these two

individuals, Kirton and Miller, by virtue of Miller suffering from a medical condition, thereby

enabling him a special situation above Kirton.

       However, this is not what happened. On February 5, 2013, Michael Darby told Miller he

had two ways to go. He could either apply for medical telework or for FMLA Exhibit 3 (AFPD

000274). There is no evidence in the record that Miller opted for either of these two avenues.

       On March 13, 2013, Darby told Evan Farley that Miller asked for telework which would

be good for 6 months and that he would review the telework agreement every 30 days Exhibit 5

(AFPD 000185 -186). Winona Cason informed Darby on 3/19/13 that Miller’s telework trial

period was supposed to end in January, 2013 Exhibit 6 (AFPD 000193). On April 14, 2013,

Darby told Miller that his telework request was approved and that he had to approve the medical

documentation every 30 days Exhibit 7 (AFPD 000236). On July 2, 2013, a person described at

“Ed” approved Miller’s request due to his “medical situation” for six months. Exhibit 8 (AFPD

000080). This was also approved by Darby on 7/3/13 until 7/29/13 or at most until 9/18/13.

Exhibit 9 (AFPD 000156).



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        In essence, Miller’s change of duty station to Oklahoma was supposed to be monitored

for years and it wasn’t. The Agency states in its brief that Ellis became Miller’s first-line

supervisor in April, 2015. [Dkt. 29-1, page 20 of 27]. Unlike the Agency’s contention that Miller

was “Grandfathered in” to a workstation in Oklahoma exception, there is no written document

confirming that contention. Rather, there were emails establishing that with Miller’s situation

being monitored, it could continue through various points, like 30 days or six months.

        According to the Agency, Ellis began a process in June, 2016, to attempt to move

Miller’s duty station back to DC. Ellis wrote, “I feel his job performance would improve by him

coming into DC at least 2 days a week.” Exhibit 11 (AFPD 000068). Ellis did not say, “the

budget analyst job requirement itself is face-face interactions with customers or other third-

parties.” Id.

        This is really the core of the comparison. If it is true as the Agency contends that the

Budget Analyst job required the two day per period face to face interaction, then Ellis simply

would have required Miller to return to DC. If that wasn’t required, Miller’s performance on the

rest of his duties would have been irrelevant. Furthermore, there wouldn’t have been any need to

place Miller on a Performance Improvement Plan. That he was given such a plan and an

opportunity to continue his job, notwithstanding that which the Agency contends are basically

essential functions of a job.

        Notably, Miller’s doctor conceded that Miller couldn’t have performed the essential

functions of his job, but that was not with reference to the face to face meetings. Exhibit 17

(AFPD 000038). Rather that was with respect to his overall inability to do his job even remotely.

Id.




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       As such, the Agency really favored this white male. He couldn’t do his job, most likely

for years, and nonetheless, the Agency and eventually, Ellis permitted him to continue with it,

remotely. Miller was placed in the funds control branch where the Agency thought he would be

the best fit for someone who works remotely 100%. Exhibit 12 (AFPD 000311-312). However,

there is little to no evidence in the record that the Plaintiff suffered from poor job performance.

       Additionally, Ms. Kirton attested as stated above, that her job did not require this face to

face continued interaction. This attestation coupled with Miller’s work history of not doing the

face to face interactions creates an issue of fact surrounding the Agency’s alleged reasons for not

granting the Plaintiff the duty station change.

       With respect to Ms. Wohltman, accountant or not, as stated above, the Agency was not in

compliance with its own telework requirements. Exhibit 18 (AFPD 000395-396). Additionally,

Ms. Kirton attested that Wohltman was the head accountant who did the apportionment for the

FEMA funds from DHS. [dkt. 29-25, page 7 of 13]. Ms. Wohltman should have been held to a

higher standard because DHS would likely have people that would question her in person as to

the reason for these allocations. Id. Also, according to the Plaintiff, Ms. Ellis recently hired

another African-American accountant, Amanda Robertson, who was not given the same

telework, duty station rights and privileges of Wohltman pursuant to FEMA’s own policy. Id.

       It is well established that one way that an employee can prove his employer’s stated

reason is pretext is by pointing to the “employer’s failure to follow established procedures or

criteria.” Brady v. Office of the Sergeant at Arms, 520 F.3d 490, 495, n3, 380 U.S. App. D.C.

283 (D.C. Cir. 2008).




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October 23, 2020                          ___/s/_Morris. E. Fischer______
Date                                      Morris E. Fischer
                                          Morris E. Fischer, LLC
                                          8720 Georgia Avenue, Suite 210
                                          Silver Spring, MD 20910
                                          301-328-7631 Office
                                          301-328-7638 Fax
                                          morris@mfischerlaw.com
                                          Attorney for Plaintiff




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